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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION
   JUAN LOZADA-LEONI,                       §
                                            §
                Plaintiff,                  §
                                            §
   v.                                       § Civil Action No. 4:20-cv-0068--RWS-CMC
                                            §
   MONEYGRAM INTERNATIONAL, INC. and        §
   MONEYGRAM PAYMENT SYSTEMS, INC.,         §
                                            §
                Defendants.                 §

        DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND BRIEF IN SUPPORT



                                       GARY D. EISENSTAT
                                       Texas State Bar No. 06503200
                                       gary.eisenstat@ogletree.com
                                       JOHN M. BARCUS
                                       Texas State Bar No. 24036185
                                       john.barcus@ogletree.com

                                       OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                       500 Preston Commons West
                                       8117 Preston Road
                                       Dallas, Texas 75225
                                       214.987.3800 (Phone)
                                       214.987.3927 (Fax)

                                       ATTORNEYS FOR DEFENDANTS
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION
   JUAN LOZADA-LEONI,                                 §
                                                      §
                  Plaintiff,                          §
                                                      §
   v.                                                 § Civil Action No. 4:20-cv-0068--RWS-CMC
                                                      §
   MONEYGRAM INTERNATIONAL, INC. and                  §
   MONEYGRAM PAYMENT SYSTEMS, INC.,                   §
                                                      §
                  Defendants.                         §

        DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND BRIEF IN SUPPORT

           Defendants MoneyGram Payment Systems, Inc. (“MPSI”) and MoneyGram International,

   Inc. (“MGI”) (collectively, “Defendants”) file this Motion for Summary Judgment and Brief in

   Support (“Motion”) and state:

                                          INTRODUCTION

           Plaintiff Juan Lozada-Leoni (“Lozada”) worked for MPSI for approximately six months,

   from October 2016 through April 2017, when MPSI terminated his employment for

   well-documented performance issues. In this lawsuit, Lozada has alleged a single cause of action:

   that he engaged in “protected activity” under the Sarbanes-Oxley Act (“SOX”), and that MPSI

   unlawfully terminated his employment in retaliation for having done so. Defendants deny this

   allegation.

                         STATEMENT OF THE ISSUE TO BE DECIDED

           The sole issue to be decided in this Motion is whether, based upon the bare-bones complaint

   Lozada filed with the Department of Labor — which then determined that it was barred from

   investigating that complaint because Lozada failed to articulate a prima facie case — Lozada is

   now barred from litigating the claims he has asserted in this Court, under 29 C.F.R. § 1980 and




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   binding Fifth Circuit precedent. He is, and the Court should grant the Motion and dismiss Lozada’s

   claims against both Defendants.1

                                         PROCEDURAL HISTORY

           As Magistrate Judge Craven’s Report and Recommendations [Dkt. No. 48] (among other

   rulings) shows, the Court is well familiar with the complex administrative and judicial procedural

   history of this dispute. Except as is relevant to this Motion, Defendants will not repeat that history

   herein. Briefly stated, however, after MPSI terminated Lozada’s employment in April 2017,

   Lozada filed a complaint on September 28, 2017 with the Occupational Safety and Health

   Administration (“OSHA”) through his then-counsel (the “OSHA Complaint”). In his OSHA

   Complaint, Lozada alleged that MGI had wrongfully terminated his employment in violation of

   SOX. [Dkt. No. 23-2.] Lozada named MGI as the sole respondent in that proceeding, although he

   knew that MPSI was his employer. [Id.]

           By its letter dated October 12, 2017, OSHA dismissed the OSHA Complaint, concluding

   that it did not have “reasonable cause to believe that a violation of (SOX) occurred,” and informing

   Lozada that it was statutorily barred from investigating his claim because he had not articulated a

   prima facie case under SOX (“OSHA Determination”). [Dkt. No. 23-3.]

           Lozada appealed the OSHA Determination and requested a hearing before an

   Administrative Law Judge, where the dispute remained pending for just over a year. [See Dkt.

   No. 48 at pp. 14-16.] A few days before MPSI’s deadline to file its dispositive motions, and a




   1
    MGI filed a motion for summary judgment on April 15, 2020, on the grounds that it never employed Lozada. [Dkt.
   No. 83.] That motion remains pending and is ripe for consideration.



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   month before the final hearing on liability, Lozada abruptly removed the dispute from the ALJ

   proceeding and chose, instead, to pursue his claim in this Court. Id.2

                                    SUMMARY JUDGMENT EVIDENCE

            In support of the Motion, in addition to the pleadings on file in this matter, and excerpts

   from Lozada’s deposition testimony, attached as Exhibit 1, Defendants rely on only two pleadings

   from Lozada’s previous administrative filings: (a) the OSHA Complaint [Dkt. No. 23-2], and

   (b) OSHA’s determination letter in response (“OSHA Determination”), refusing to investigate the

   OSHA Complaint because the relevant federal regulations bar it from doing so. [Dkt. No. 23-3.]

   Copies of those documents are attached as Exhibits 2 and 3 for the Court’s convenience, and

   quoted below where relevant.

                         STATEMENT OF UNDISPUTED MATERIAL FACTS 3

            1.     Background Regarding Defendants. Defendants, who operate publically under the

   “MoneyGram” brand name, provide electronic money transfer services for both consumers and

   businesses. Consumers, including many “unbanked” individuals, typically use Defendants’

   services for check cashing, money transfers and money orders, and electronic bill payments. To

   make its services more accessible, Defendants partner with various retailers that serve as

   MoneyGram “agents” to interface with consumers.

            2.     Background Regarding Lozada. Lozada has been licensed to practice law in Texas

   since 2004. Prior to coming to work for MPSI, Lozada was an Assistant United States Attorney,



   2
    Lozada originally filed this suit in the Texarkana Division, but the Court granted Defendants’ motion to transfer
   venue to the Sherman Division on January 28, 2020. [Dkt. No. 53.] The case is set for trial on November 16, 2020.
   [Dkt. No. 87.]
   3
     As indicated by the citations, many of these facts are drawn from Lozada’s live pleading. By citing to them for
   purposes of the Motion, Defendants do not necessarily agree that Lozada’s allegations are true, and are not conceding
   the facts for trial. Rather, Defendants’ purpose in relying on Lozada’s facts is to simplify the Motion, which does not
   turn on the substantive underlying facts.



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   after spending a decade as a military attorney (rising to the rank of Chief of International Law for

   United States Army South), and prior to that, served an assistant district attorney in the Houston

   area. [Exhibit A at 12:9 – 20:19.] To say that Lozada understands the importance of following

   rules and regulations regarding the prosecution of claims would be an understatement.

          3.    MPSI Hires Lozada. Lozada began working for MPSI as a Senior Manager for

   Regional Compliance in October 2016. [Second Amended Complaint (“Complaint”) (Dkt. No. 21)

   ¶ 4.] Lozada reported to Juan Manuel Gonzalez (“Gonzalez”), MPSI’s Head of Regional

   Compliance. [Id. ¶ 27.] Lozada alleges that, during his brief tenure with MPSI, he observed what

   he considered to be certain “suspicious activities,” “problems,” and “infractions,” both internally

   and regarding some of MPSI’s agents. [Id. ¶¶ 24-53.] Defendants deny these allegations.

          4.    Lozada’s Termination. Lozada alleges that he notified Defendants of issues that he

   believed were “compliance infractions,” including what Lozada claims to have observed during

   an impromptu on-site review of MGI’s agent, SuperValu, in Minneapolis, Minnesota, in March

   2017. [Id. ¶¶ 54-81.] Defendants acknowledge that Lozada brought certain alleged “concerns” to

   Defendants’ attention, but deny that the things Lozada believes he observed were, in fact,

   violations of any applicable law or court order. For reasons unrelated to Lozada’s reports relating

   to his observations and beliefs about them, MPSI terminated Lozada’s employment in April 2017.

          5.    The OSHA Complaint. On September 28, 2017, counsel for Lozada filed his very

   bare bones OSHA Complaint with OSHA, the arm of the Department of Labor (“DOL”) tasked

   with investigating SOX complaints. [Exhibit 2, Dkt. No. 23-2.] Lozada asked OSHA to “process

   the following as a formal complaint under Section 806 of the Sarbanes-Oxley Act of 2002, as

   amended,” before identifying the statute under which he brought his complaint (SOX) and the

   parties — Lozada and MGI. [Id. at p. 1.] Lozada described the operative facts in fewer than 100




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   words, including identifying his job title and job duties, and stating that “his efforts to achieve

   compliance were met with” resistance and hostility, and resulted in his termination. [Id. at pp. 1-2.]

   Lozada then informed OSHA of all of the “protected conduct” in which he had engaged. That

   description, in its entirety, reads only as follows:

                  This is essentially a Sharkey v. JP Morgan Chase case,4 with one additional
                  twist: on top of violating the underlying anti-money laundering laws, the
                  employer here violated an existing consent decree that prohibited future
                  violations of the underlying anti-money laundering laws.

   [Id. at p. 2 (emphasis and footnote in original).] That’s it. No description of what he observed, or

   to whom he communicated, or what he told his alleged audience. One sentence of vaguely-alleged

   “protected activities” without more. There can be no doubt that Lozada, under the direction of his

   then-counsel intentionally pled his OSHA Complaint purposefully vague and void of detail. After

   all, in addition to Lozada’s decade spent practicing federal and military law, Kardell claims to have

   vast expertise (over 35 years) in representing whistleblowers, and specifically those claiming SOX

   violations.5

           6.     The OSHA Determination.                 OSHA wasted little time in responding. In its

   October 12, 2017 OSHA Determination letter to counsel for Lozada, OSHA concluded that it “did

   not have reasonable cause to believe a violation of (SOX) occurred” and highly relevant to this

   Motion, that Lozada “did not present a prima facie showing.” [Exhibit 3, Dkt. No. 23-3 at p 1.] As

   the agency explained in a footnote, pursuant to “[29 C.F.R.] § 1980.104(b)(2), and as directed by

   statute, OSHA will not investigate where a complainant has failed to make a prima facie showing


   4
     This is the footnote included in Lozada’s OSHA Complaint — “In Sharkey, the Second Circuit established that
   complaints pertaining to a violation of the anti-money laundering statute qualifies as protected conduct under SOX.
   Stempel, J. (2016, September 12). JP Morgan Whistleblower Case Revived by U.S. Appeals Court. [sic] Retrieved
   from Reuters: https://www.reuters.com/article/us-jpmorgan-whistleblower-lawsuit/jpmorgan-whistleblower-case-
   revived-by-u-s-appeals-court-idUSKCN11111T7[.]”
   5
    See https://www.dallaswhistleblowerlawyer.com/ for Kardell’s firm website touting his vast experience and expertise
   in this very area.



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    that the protected behavior was a contributing factor in the unfavorable personnel action alleged.”

    Id.6 OSHA further informed Lozada that he had 30 days to file objections and request a hearing

    before an ALJ. Id. Lozada did just that, which led to the ALJ proceeding that Lozada then abruptly

    short-circuited by effectively “removing” the dispute to this Court days before the motion deadline

    and mere weeks before the final hearing. As the Court knows, Lozada initially filed suit in this

    Court against MGI, Gonzalez, and Christopher Ponder, another MPSI employee working in the

    human resources department. [Dkt. No. 1.] He later voluntarily dismissed the individual

    defendants and added MPSI as a party defendant. [Dkt. No. 21.] Both Defendants have answered

    and asserted the defense of failure to exhaust administrative remedies. [Dkt. No. 77 at ¶ 96 (MGI)

    and 78 at ¶ 95 (MPSI).]

                                          ARGUMENT AND AUTHORITY

               Based on the foregoing evidence, and for each of the following reasons, the Court should

    grant the Motion and dismiss Lozada’s claims against Defendants with prejudice:

    A.         Summary Judgment Standard.

               The purpose of summary judgment is to isolate and dispose of factually unsupported claims

    or defenses. Celotex Corp. v. Catrett, 477 U.S. 317, 323–24 (1986). Summary judgment is proper

    under Rule 56(a) of the Federal Rules of Civil Procedure “if the movant shows that there is no

    genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

    Fed. R. Civ. P. 56(a). A dispute about a material fact is genuine when “the evidence is such that a

    reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby Inc.,

    477 U.S. 242, 248 (1986). Substantive law identifies which facts are material. Id. The trial court




    6
        This and all subsequent emphasis supplied by counsel unless otherwise indicated.



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    “must resolve all reasonable doubts in favor of the party opposing the motion for summary

    judgment.” Casey Enters., Inc. v. Am. Hardware Mut. Ins. Co., 655 F.2d 598, 602 (5th Cir. 1981).

           The party seeking summary judgment bears the initial burden of informing the court of its

    motion and identifying “depositions, documents, electronically stored information, affidavits or

    declarations, stipulations (including those made for purposes of the motion only), admissions,

    interrogatory answers, or other materials” that demonstrate the absence of a genuine issue of

    material fact. Fed. R. Civ. P. 56(c)(1)(A); Celotex, 477 U.S. at 323. Where the nonmovant bears

    the burden of proof, the movant may discharge the burden by showing that there is an absence of

    evidence to support the nonmovant’s case. Celotex, 477 U.S. at 325; Byers v. Dallas Morning

    News, Inc., 209 F.3d 419, 424 (5th Cir. 2000). Once the movant has carried its burden, the

    nonmovant must “respond to the motion for summary judgment by setting forth particular facts

    indicating there is a genuine issue for trial.” Byers, 209 F.3d at 424 (citing Anderson, 477 U.S. at

    248–49). A nonmovant must present affirmative evidence to defeat a properly supported motion

    for summary judgment. Anderson, 477 U.S. at 257. Mere denials of material facts, unsworn

    allegations, or arguments and assertions in briefs or legal memoranda will not suffice to carry this

    burden. Rather, courts require “significant probative evidence” from the nonmovant to dismiss a

    request for summary judgment. In re Mun. Bond Reporting Antitrust Litig., 672 F.2d 436, 440 (5th

    Cir. 1982) (quoting Ferguson v. Nat'l Broad. Co., 584 F.2d 111, 114 (5th Cir. 1978)).

    B.     The Elements of a SOX Whistleblower Claim.

           To succeed on a claim under Section 1514A, Lozada must prove each of the following

    elements: (1) he engaged in protected whistleblowing activity; (2) his employer knew that he

    engaged in the protected activity; (3) he suffered an adverse action; and (4) the protected activity

    was a contributing factor in the adverse action. Halliburton, Inc. v. Administrative Review Bd., 771

    F.3d 254, 259 (5th Cir. 2014). See, e.g., Wallace v. Andeavor Corp., 916 F.3d 432, 426-427 (5th


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    Cir. 2019); Paul v. Cisco Sys., Inc., No. 4:17-cv-00599, 2018 WL 1386863, at *2 (E.D. Tex.

    Feb. 26, 2018).

    C.     Plaintiff is limited to the scope of the OSHA investigation expected from his OSHA
           Complaint; that scope is zero, and Plaintiff’s claim fails as a matter of law.

           The Court should grant summary judgment irrespective of the merits of Lozada’s

    allegations because his OSHA Complaint failed to provide the requisite information regarding his

    alleged protected activity. In evaluating Plaintiff’s alleged activity, this Court’s review is limited

    to “the sweep of the OSHA investigation that can reasonably be expected to ensue from the

    administrative complaint.” Wallace v. Tesoro Corp., 796 F.3d 468, 476 (5th Cir. 2015) (affirming

    dismissal for failure to exhaust). See, e.g., Jones v. Southpeak Interactive Corp. of Del., 777 F.3d

    658, 669 (4th Cir. 2015). “It would thwart the administrative scheme to allow plaintiffs to sue on

    claims that the agency never had a chance to investigate.” Wallace, 796 F.3d at 475. “Merely filing

    a claim that meets OSHA’s technical requirements” is insufficient to exhaust all potential claims.

    Id. at 476-477. As discussed below, by design, Lozada did not even do that.

           As discussed above, Lozada filed his OSHA Complaint on September 28, 2017, through

    and with the assistance of his then highly experienced whistleblower counsel. Lozada’s description

    of his protected conduct in the OSHA Complaint, in its entirety, reads as follows:

                 This is essentially a Sharkey v. JP Morgan Chase case, with one additional
                 twist: on top of violating the underlying anti-money laundering laws, the
                 employer here violated an existing consent decree that prohibited future
                 violations of the underlying anti-money laundering laws.

    [Exhibit 2, Dkt. No. 23-2] In short, Lozada never identified any protected conduct in which he

    allegedly engaged. He did not state (1) what information he provided, (2) the specific law he

    “reasonably believed” was being violated, or (3) the identity of the person to whom he provided

    the information. OSHA readily and correctly determined that this intentionally sparse Complaint

    “did not present a prima facie showing” of a SOX whistleblower claim. [Exhibit 3, Dkt. No. 23-3.]


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    In making this determination, the assigned OSHA’s Regional Supervisory Investigator specifically

    noted that pursuant to “[29 C.F.R.] § 1980.104(b)(2), and as directed by statute, OSHA will not

    investigate where a complaint has failed to make a prima facie showing that the protected behavior

    was a contributing factor in the unfavorable personnel action alleged.” [Id. p. 1 n. 2.]

           The relevant regulation that govern Lozada’s claim are clear. To file an OSHA complaint,

    “no particular form of complaint is required, except that a complaint must be in writing and should

    include a full statement of the acts and omissions, with pertinent dates, which are believed to

    constitute the violations.” 29 C.F.R. § 1980.103(b). However, “[t]he complaint . . . must allege the

    existence of facts and evidence to make a prima facie showing as follows: (i) The employee

    engaged in a protected activity; (ii) The respondent knew or suspected that the employee engaged

    in the protected activity; (iii) The employee suffered an adverse action; and (iv) The circumstances

    were sufficient to raise the inference that the protected activity was a contributing factor in the

    adverse action. Id. § 1980.104(e)(2). Lozada’s OSHA Complaint alleges none of these facts, other

    than his termination.

           Further, the regulations require that “a complaint will be dismissed unless the complainant

    has made a prima facie showing that a protected activity was a contributing factor in the adverse

    action alleged in the complaint.” 29 C.F.R. § 1980.104(e)(1). The regulation continues: “For

    purposes of determining whether to investigate, the complainant will be considered to have met

    the required burden if the complaint on its face . . . alleges the existence of facts and either direct

    or circumstantial evidence to meet the required showing[.] . . . If the required showing has not been

    made, the complainant (or the complainant’s counsel, if complainant is represented by counsel)

    will be so notified and the investigation will not commence.” Id. § 1980.104(e)(3). If, under

    Wallace, this Court is limited to “the sweep of the OSHA investigation that can reasonably be




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    expected to ensue from the administrative complaint,” Wallace, 796 F.3d 476, the reasonably

    expected sweep is nil.

           In sum, Lozada and his counsel — two experienced and sophisticated lawyers — made a

    calculated decision — not to provide OSHA with any description of Lozada’s alleged “protected

    activity.” Clearly, these attorneys, knew (or reasonably should have known) that no investigation

    would result from their filing such a facially deficient complaint and the absence of any substantive

    information in the OSHA Complaint was no accident. It was a choice, and one that carries

    mandatory consequences. Under Wallace, this Court may not review what OSHA could not

    reasonably have been expected to investigate. With no facts or “protective activity” described in

    the OSHA Complaint, this Court must likewise not go beyond what was before OSHA when it had

    the OSHA Complaint. According, the Court should grant the Motion irrespective of the merits of

    Lozada’s allegations.

                                         RELIEF REQUESTED

           For the foregoing reasons, Defendants respectfully request that the Court grant the Motion;

    enter a take-nothing judgment for Defendants and against Lozada on his sole cause of action and

    requests for relief asserted against Defendants, dismissing the same with prejudice; award

    Defendants their reasonable and necessary attorneys’ fees and costs; and grant all other relief,

    general or special, at law or in equity, to which Defendants may be justly entitled.




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                                                Respectfully submitted,


                                                By:      /s/ Gary D. Eisenstat
                                                      GARY D. EISENSTAT
                                                      Texas State Bar No. 06503200
                                                      gary.eisenstat@ogletree.com
                                                      JOHN M. BARCUS
                                                      Texas State Bar No. 24036185
                                                      john.barcus@ogletree.com

                                                OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                500 Preston Commons West
                                                8117 Preston Road
                                                Dallas, Texas 75225
                                                214.987.3800 (Phone)
                                                214.987.3927 (Fax)

                                                ATTORNEYS FOR DEFENDANTS




                                    CERTIFICATE OF SERVICE

             I hereby certify that on August 12, 2020, the foregoing document was electronically filed
    with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
    to all counsel of record.

                                                  /s/ Gary D. Eisenstat
                                                 GARY D. EISENSTAT




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